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                  IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           PINE BLUFF DIVISION

LOUISE KING                                                              PLAINTIFF

VS.                        CASE NO: 5:14-cv-00021-KGB

DAVIS LIFE CARE CENTER                                                DEFENDANT

 PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO RESPOND TO

           DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

      Comes now the Plaintiff by and through her counsel, Teresa Bloodman, and

for her motion states:

   1. That the time for Plaintiff’s response to Defendant’s motion for summary

judgment has not passed.

   2. Due to the complexity of the issues and the number depositions and

exhibits to review and research, the petitioner requests an Extension of Time to

respond.

   3. That the purpose of this motion is not for any delay.

   4. That the Plaintiff requests an extension of thirty (30) days to file a response

to Defendant’s motion for summary judgment.

      WHEREFORE, the Plaintiff prays that an extension of thirty (30) days to

file a response to Defendant’s motion for summary judgment be granted and for all

other proper and just relief.


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                                             Respectfully submitted,

                                             /s/Teresa Bloodman #2005055
                                             Attorney for Plaintiff
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                         CERTIFICATE OF SERVICE

      I, Teresa Bloodman, do hereby certify that a true and correct copy of the
foregoing pleading was filed, this 12th day of October, 2015, with the Clerk of
Court using the ECF electronic filing system and notification of such filing was
served electronically to the attorney of record:

Mr. Spence Robinson, Esq.
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                                                     /s/ Teresa Bloodman




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